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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA




 JEFF MERKLEY,

                Flaint[f
                                                       No. 1 8-cv-2226 (ABJ)
                V.
                                                       Electronically Filed
 DONALD J. TRUMP et al.,
                                                       Hon. Amy Berman Jackson
                Defendants.



                           NOTICE OF VOLUNTARY DISMISSAL


       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff and his counsel

hereby give notice that the above-styled action is voluntarily dismissed, without prejudice

against the Defendants.

       Plaintiff is dismissing this action because Judge Brett Kavanaugh has been confirmed by

the United States Senate, and any claim under the Advice and Consent Clause of the United

States Constitution has been extinguished.

       The Defendants have filed neither an answer to the complaint nor a motion for summary

judgment as to these claims. The action is therefore dismissed under Federal Rule of Civil

Procedure 41(a)(l) upon filing of this notice.



Dated this 6th day of October, 2018.

                                                     RESPECTFULLY SUBMITTED,
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                                while application for D.C. Bar membership
                                is pending. Pro hac vice motion to be
                                submitted.

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